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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTICT OF FLORIDA
                                TAMPA DIVISION
                               www.flmb.uscourts.gov

In re:

KAY JOHNSON                                              Case No. 8:15-bk-10728-MGW
                                                         Chapter No: 7

                    *Debtor

                                NOTICE OF PRELIMINARY HEARING

 NOTICE IS HEREBY GIVEN THAT:

        A preliminary hearing in this case will be held on November 19, 2019 at 10:00 A.M. in
 Courtroom 9B, Sam M. Gibbons United States Courthouse, 801 N. Florida Avenue, to consider and
 act upon the following and transact such other business that may come before the court:

    CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE OF REAL
    PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND
     INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m), (II) SURCHARGE
         AGREEMENT BETWEEN SECURED LENDER AND THE ESTATE,
                        AND (III) OTHER RELIEF

         1. The hearing may be continued upon announcement made in open Court without further
            notice.
         2. Appropriate Attire. You are reminded that Local Rule 5072−1(b)(16) requires that all persons
            appearing in Court should dress in business attire consistent with their financial abilities.
            Shorts, sandals, shirts without collars, including tee shirts and tank tops, are not acceptable.
         3. Avoid delays at Courthouse security checkpoints. You are reminded that Local Rule 5073−1
            restricts the entry of cellular telephones and, except in Orlando, computers into the
            Courthouse absent a specific order of authorization issued beforehand by the presiding judge.
            Due to heightened security procedures, persons must present photo identification to enter the
            Courthouse.


DATED: October 17, 2019

                                                         /s/Traci K Stevenson, Trustee
                                                         Traci K. Stevenson, Trustee
                                                         P.O. Box 86690
                                                         Madeira Beach, FL 33738
                                                         727-397-4838
